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IN THE UNITED STATES DISTRICT COURT we 2 1 2020
FOR THE WESTERN DISTRICT OF LOUISIANA _ wesiiiifthti@oPSSt285unn

SHREVEPORT LOUISIANA

LAFAYETTE DIVISION 7

UNITED STATES OF AMERICA, = CRIM No. 6:97-CR-60039-1

Plaintiff, e

V. c Hon. Terry Doughty

MANUEL DAVID HERNANDEZ, .

Defendant. * Mag. Whitehurst

E O DIFY SENTENCE

PURSUANT TO T 1A

COMES NOW, MANUEL DAVID HERNANDEZ, proceeding in pro se, and requests
this court grant a modification of sentence for extraordinary and compelling reasons
pursuant to 18 U.S.C. §3582(c)(1)(A).

Specifically this request is made pursuant to the “extraordinary and compelling
reasons” exception to the bar on inmate-initiated requests for §3582(c)(1)(A)(i) relief.

For the reasons and arguments made in the brief to follow, this court should grant
this request for sentence modification and reduce my sentence to a “time served”
duration, and include what special conditions of release it may deem necessary to
preserve the interests of justice moving forward.

This may include, but is not exclusive to, Residential Reentry Placement, Home

Detention, and/or extended supervised release terms.
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I. JURISDICTION AND LEGAL AUTHORITY

This Court has and maintains original jurisdiction over the prosecution, sentencing, and
continued legal remedies sought while my sentence is ongoing. No jurisdictional transfer,

through 18 U.S.C. §3605, nor any other avenue, has been sought.

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The authority of this Court to grant requests for sentence modification after the finality
of sentence is reached generally comes from 18 U.S.C. §3582. This statute is used for
retroactively applied sentencing guidelines reductions, Rule 35(a) clerical error corrections,
Rule 35(b)/§5K1.1 sentencing reduction requests from the government for substantial
assistance, and Compassionate Release.

Compassionate Release, as a program of the Bureau of Prisons (BOP), is codified in
§3582(c)(1)(A) and has been the exclusive right of the Director of the BOP to request these
types of sentence reduction for the entirety of the modern sentencing scheme. That was,
however, until the passage of the First Step Act of 2018, Pub L. 115-391.

The First Step Act created an avenue wherein an inmate can directly request a
sentencing modification under (c)(1)(A), and circumvent the requirement that the Director of

the BOP initiate that request, under specific conditions.

“[T]the court, upon motion of the Director of the Bureau of Prisons, or upon motion
of the defendant after the defendant has fully exhausted all administrative rights to
appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
or the lapse of 30 days from the receipt of such a request by the warden of the
defendant’s facility, whichever is earlier, may reduce the term of imprisonment (and
may impose a term of probation or supervised release with or without conditions
that does not exceed the unserved portion of the original term of imprisonment),
after considering the factors set forth in section 3553(a) to the extent that they are
applicable, if it finds that —

(i) extraordinary and compelling reasons warrant such a reduction;

... and that such a reduction is consistent with applicable policy statements issued
by the Sentencing Commission” §3582(c)(1)(A).

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The burden of the defendant, when requesting this modification of sentence is three-fold.
First, he must use his administrative remedies to give the BOP the opportunity to grant his
request. Full exhaustion, or 30 days from initial request, is required before a Court may
consider an inmate-initiated §3582(c)(1)(A) request.

Once that 30-day time frame has lapsed, the Court may only grant a request for sentence
modification under this section if it finds that “extraordinary and compelling reasons warrant
such a reduction.”

The remainder of this brief will describe why my case, my health, and the COVID-19
situation present extraordinary and compelling reasons to grant my request for sentence

modification.

Il. EXTRAORDINARY REASONS EXIST AND REQUIRE THIS
MOTION BE GRANTED

‘‘Sars-Cov-2” is the name of the novel caronavirus that has gripped the world for the last six
months. The disease it causes is called the Caronavirus Disease of 2019 (hereinafter “COVID-
19”), Beginning in the Wuhan province in China in the Fall of 2019, it quickly left mainland
China with many traveling Chinese that were celebrating the Chinese New Year in different
destinations around the globe.

COVID-19 has an alarming transmission and mortality rate. These are the reasons the
entire planet took extreme measures to dampen the spread of this infection. The transmission

rates of this disease are high enough to make the spread of the virus exponential.

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The exponential rate of infection can be reduced by these mandates, thereby “Flattening
the Curve.” Orders around the world began to mandate populations distance socially, don face
masks in public, and shelter-in-place for months.

The purpose of these mandates was not to eradicate the spread of the virus itself, as that
is simply not possible. The purpose was to reduce the rate of infection sufficient to allow
healthcare mechanisms around the world to treat serious cases without being overwhelmed
with sick and dying patients.

These measures work, however no ability to flatten the curve exists inside the BOP for
inmates and staff. This is simply a side effect of the apparatus of incarceration, especially here
in USP Florence.

What began to emerge in March and April of this year (2020) was that certain
populations were at much greater risk to die from a COVID-19 than others.

My existing medical conditions, as well as my ethnic/demographic makeup, but me at a
greatly elevated risk of death if I contract this illness. As I will demonstrate in this section, the

risk to me is recognizable, factual, and amounts to an extraordinary reason to grant this request.

Ii. HOW COVID-19 KILLS PEOPLE

COVID-19, known scientifically as SARS-CoV-2, is a novel coronavirus much like the famous
namesake “SARS” (SARS-CoV-1).

This virus causes havoc in the lungs, specifically disrupting the capacity of our alveoli to
hold air, causing them to fill with fluid. Our immune system’s response often causes more

damage in the short term than it repairs due to overreaction.

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“Viruses that infect endothelium may induce more significant lung injury
particularly to the alveolar epithelium as a result of increased vascular permeability,
edema, and spatial proximity to alveolar cells. Release of proinflammatory
cytokines, NO, and ROS from epithelium and leukocytes can enhance endothelial
permeability and disrupt the integrity of the endothelial-epithelial barrier. Damage to
alveolar epithelium can expose and increase the susceptibility of localized
endothelium to injury. Increased vascular permeability and pulmonary edema
impairs efficient gas exchange between the airways and blood, resulting in
respiratory distress. Thus, endothelium damage caused directly by virus or
indirectly by inflammatory processes can play a significant role in pulmonary
injury in response to respiratory infection.”

IV. MY RISK OF DEATH IS VERY HIGH DUE TO MY HEALTH
CONCERNS AND MY GENDER

In Italy, arguably the hardest-hit country with early outbreak cases outside of China, respiratory
failure was the most common cause of death from COVID-19, where respiratory failure
complications are present in 96.5% of fatal cases there,’

A preliminary report from New York COVID-19 deaths, of those under 65 years old who
died from this infection, nearly 96% had pre-existing conditions which were fatally exacerbated
by COVID-19.’ The single most common comorbid condition associated with death from this

virus is Hypertension.

 

ronavi . Eur Radiol (2020). Ye, Z..,

https://doi.ore/10,1007/s00330-020-06801-0,

   

Zhang, ¥., Wang, Y. et al.

2 See “Report on the Characteristics of COVID-19 Positive Deceased Patients in Italy.” Original Italian report available

at: ; iss.i rth ID 20 3 2 f/ Translated into English here:
https://bit.lv/2WWEud4q.

 

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Patients with per-existing medical conditions like hypertension, develop Acute Respiraty
Distress Syndrom (ARDS, formerly called “SARS”) at a much higher rate than the general
population. More than half (52.4%) of patients that develop ARDS will die from COVID-19.*

It is easily verifiable from my BOP medical records that I have a long medical history of
hypertension, that has been treated for many sit during my incarceration.

In addition to this, men are more than twice as likely to die of COVID-19 than women

(70.3% of all deaths from COVID-19 in a study with n=524, p=0.016.> °

¥. MY RISK OF DEATH FROM COVID-19 IS INCREASED DUE TO
THE INABILITY OF THE BOP TO ADDRESS THE SPREAD AND
TREATMENT OF THIS INFECTION —

The chances that my hypertension will result in my death from this virus are
compounded by my gender, and my incarceration. The preeminent expert on disease
transmission in prisons is Dr. Jaimie Meyer, Assistant Professor of Medicine at Yale School of
Medicine.

Dr. Meyer has testified, under penalty of perjury, in federal district court, the following:

* Segregation and Solitary Confinement is not an effective disease containment strategy;
* Prisons have vastly reduced prevention opportunities for curtailing the spread of disease

through distancing or hygiene;

 

 

Study; 395 The Civ 1054-62 (Mar. 28, ott, fife: iit iyfSeNeDmD.

5 In this context, “n=” refers to the number of patients in the study and “p=” -value: the probability of obtaining results as
extreme as the observed results of a statistical hypothesis test, assuming that the null hypothesis is correct.. A smaller p-
value means that there is stronger evidence in favor of the alternative hypothesis. A p-value less than 0.05 (typically <
0.05) is statistically significant.

 

ality; (2020), Jian-Min Jin, et. al.,

Frontiers ; in Public Health,

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* Inmates are more susceptible to acquiring infectious viruses;

* Prisons lack the medical facilities to deal with, diagnose, manage, and treat COVID-19;
* As the infection rate climbs, this ability will diminish even further;

* Therefore, individuals in custody are of significantly higher risk of contracting and

dying from COVID-19, regardless of how drastic measures are taken by a the BOP.’

No matter if I am in my cell, in the general population, or if I am totally cut off from the
general population in administrative segregation, my risk for infection, ARDS, and death from
COVID-19 is not diminished.

It is undeniable that I am of much higher risk to contract and die from COVID-19 so
long as I remain in prison here, My survival hinges on my ability to isolate myself, away from
prison, and have the care of a hospital if I end up contracting this virus after my release from

custody.

VI. EXTRAORDINARY AND COMPELLING REASONS NOT
RELATED TO HEALTH, BUT DUE TO PROCEDURAL BARS TO
SENTENCING RELIEF EXACERBATED BY RISK OF DEATH BY
COVID-19

Aside from the very real health risks associated with the COVID-19 pandemic, and the lacking
response from the Bureau of Prisons to properly address the spread of that virus in USP
Florence, there are legal reasons which create a compelling and extraordinary reason to

consider this request.

 

7 “Declaration of Dr. Jaimie Meyer,” No. 1:20-CV-01803-AKH (S.D. New York, PACER Doc. 42, March 16, 2020)

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There are several issues that I have brought up on habeas appeal in several previous
filings with this Court. These were ordered on in February, and some where dismissed with
prejudice, and some without prejudice [Doc. 213 & 214].

The arguments currently before the Fifth Circuit Court of appeals, as well as the
arguments in my subsequent filings [Doc. 182, 189, 190, 206, and 211] deal with two main
merits issues. See Case No. 18-30712 (5" Cir. ___, appealing the decision by this Court to
deny §2255 arguments under the 2015 decision in United States v. Johnson, 576 U.S. 591
(2015).

These arguments are:

I. Whether the definitions of “violent crime” that were struck down as unconstitutionally
vague by Johnson, and the subsequent decisions in Dimaya,” and Davis,’ make new
rules that apply retroactively to the cases which were used to predicate the sentence
decision in my case.

II. Whether the ruling in Rehaif’’ invalidates my convictions for my §922(g) convictions.
Rehaif requires the government to prove I was aware that I was prohibited from owning
firearms before a conviction for prohibited-possession prosecution can prevail.

These issues are still outstanding. First, the Johnson decision is currently pending before
the Fifth Circuit. The Dimaya and Davis ruling, progeny of the Johnson decision, were
dismissed without prejudice because I submitted those arguments after briefing at the Fifth

Circuit was considered fully made.

 

8 Sessions v. Dimaya, 138 8. Ct. 1204 (2018).
9 United States v. Davis, 139 8. Ct. 2319 (2019).
10 Rehaifv. United States, 588 U.S. (2019),

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Moreover, this court decided that the Rehaif decision could also not be considered in any
of those filings. This was ordered first because various courts have not considered Rehaif as
having established a new rule, nor has it been considered (even if a new rule was made) to be
retroactively applicable. Second, because that argument is properly brought under §2255, to
consider it would be to consider a successive habeas filing without first gaining permission
from the Fifth Circuit to file it. Doc. 213 at 9.

Finally, that ruling addressed the changes made by the First Step Act regarding the
“stacking” of 924(c) sentences. “[T]he First Step Act removed the automatic imposition of a
25-year sentence for a second or subsequent conviction for using or carrying a firearm under
Section 924(c) and instead conditioned such a sentence on the existence of a prior final
conviction for that offense.” Doc. 213 at 6.

This did not prevail for me, just as the previous merits arguments had failed as
well.“However, the statute specifically provides that this new minimum applies to defendants
convicted before the Act became law only if they had not yet had a sentence ‘imposed’.” Jd.

Here, I am not asking for a fully briefed decision on Rehaif, Dimaya, Davis, Johnson, or
The First Step Act.

Here, I make the argument that nobody is contesting the fact that a sentence in my case
today would be substantially lower than 867 months, That sentence would be of such a length
as to now warrant an inquiry as to whether or not I would already have served my full term of
incarceration.

If that were the case; If I were sentenced under today’s law and precedent; and if that

sentence under today’s law and precedent would result in a sentence of such length that it is

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already served, then the procedural bars that I encounter which prevent my sentence from
being reduced will quite possibly prove fatal.

Even worse, because my case is not a Capital case, I am afforded much less by way of
resources to seek counsel and remedy in ways that could positively effect my sentence. The
result, however, will be the same. I will die in prison, and this will likely be due to contracting
the COVID-19 disease, if this Court does not act on the merits of this motion and reduce my
sentence now.

Inaction here is tantamount to this Court tacitly approving Capital punishment for my

crimes, and would constitute an egregious miscarriage of justice.

VII. BRIEF LEGAL ANALYSIS OF PROCEDURE AND PRECEDENT

To begin, the arguments made, which are either pending appellate review, or were made in
filings after the appellate briefing was fully made, are not binding precedent.

The decisions that have come after the Johnson case, which was the impetus of the
current §2255 review before the Fifth Circuit, and the decision in Rehaif, create a situation that
points strongly toward a coming relief in sentence.

These arguments should be considered for their merits, as a finding of merit would
require this court to conclude two important facts: (1) that I am serving a sentence beyond that
which I should be serving, and (2) that to continue serving that sentence, having acknowledged
that each extra day constitutes injury to me, requires unconscionable violation of §3553(a) for

converting it into a death sentence.

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This motion is made properly under 18 U.S.C. §3582, which contains provisions for
retroactive applicability of sentence reduction policy of the Sentencing Commission (§3582(c)

(2)(B)), and provisions for prisoner-initiated sentence reductions for exceptional and

compelling reasons (§3582(c)(1)(a)(i)).

A) 922(2) and Predi. relari “Cri ence”

The decision to defer to the 7" Circuit’s ruling in Shields v, United States, 885 F.3d 1020
(7" Cir. 2018) (declaring the Illinois statutes for Burglary were too broad to be considered
enumerated in the Armed Career Criminal Act) is courteous, but not binding on this Court,
notwithstanding the oblique.

To date, the Fifth Circuit has not ruled in any way on the merits of this argument.
Neither has it considered the merits of any argument comparing “residential burglary” from
720 ILCS 5/19-3(a) against the particularly enumerated “burglary” crime from §924(e)(2)(B)
(ii). This court is free to come to its own conclusions, but instead, it punted such an analysis by
relying on United States v. Marroquin, 884 F.3d 298, 300 (4" Cir. 2018).

Marroquin, like Shields, has no controlling effect on district courts in the 5" Circuit,
although guidance gathered from sister circuits is certainly preferable to no guidance at all.
However, Marroquin deals only with interpretation of state-specific criminal statutes only
insofar as they apply to the application of guidelines provisions.

In a statutory scheme, like the one contained in the Armed Career Criminal Act (ACCA),

however, a categorical approach is taken to determine if the state statute meets the general

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elements of the applicable federal statute for the crime-type. See Taylor v. United States, 495
U.S. 575, 600 (1990), and United States v. Vidaure, 861 F.2d 1337, 1340 (5" Cir. 1988).

As it applies here, Shields takes the correct approach (categorical) to analyze the
“residential burglary” statute in Illinois criminal code 720 ILCS 5/ 19-3(a). However, the
decisions in Dimaya and Davis came after Shields, and both strike at the core of why Shields
does not apply here.

In all three cases, the Supreme Court has stated unequivocally that the residual clause of
§924’s definition of a crime of violence, wherever it exists, is unconstitutionally vague. In
Johnson, this was 18 U.S.C. §924(e)(2)(B)(ii); in Dimaya, this was 18 U.S.C. §16; in Davis,
this was 18 U.S.C. §924(3)(B).

In all three cases, the categorical approach was used and “judges were required to
disregard how a defendant actually committed the offense, and instead imaging the degree of
risk that would attend the idealized ordinary case of the offense.” Davis, at 2322 (quoting
Johnson, supra, at 2557).

Thus, using the categorical approach was the cause of the Supreme Court’s
determination that the residual clause of the definition of a crime of violence, wherever it has
been encountered in Title 18 of the United States Code, requires the judge to imagine the
degree of risk that would “attend the idealized ordinary case.” Jd.

The same argument exists here. Because the categorical approach analyzes the
similarities between an Illinois “residential burglary” and “burglary” as contained in §924(e)(2)

(B)(ii), and because this categorical approach expects “burglary” to involve conduct that

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presents a “serious potential risk of physical injury to another,” then the residual clause of a
“violent felony”.

When the definitions of “burglary” under state statute run afoul of the residual clause of
a crime of violence, that crime cannot itself be considered a “violent felony” of the same reason
the residual clause was found void-for-vagueness.

In Quarles v. United States, 587U.S.___ (2019), “generic burglary” was found to
include remaining in a premises elements of state-specific statutes and under §924(e),

However, this avoids striking at the heart of the issue: whether or not generic burglary runs
afoul of the constitution because defining it as a “crime of violence” simply for it’s potential for
violence, contradicts the decisions in Johnson, Dimaya, and Davis.

Upon even a cursory look, it certainly does. Regardless of the 7" Circuit’s decision in
Shields, or the deference to sister-circuit definitions of their in-circuit state statutes from
Marroquin, it is obvious from the record that the very inclusion of “general burglary” as a
violent felony as defined by §924(c)(2)(B)(ii) is too vague to be considered constitutionally
valid. Indeed, interpreting it that way requires the same imagination that creates the vagueness

invalidity that the residual clause of §924(c)(3)(B) did.

B) = “Stacking Gun Charges”

There is no doubt in my mind, and no doubt in this Court’s opinion, that the First Step Act
eliminated the stacked, consecutive, sentences for multiple first-time §924(c) convictions

arising from the same case/indictment,

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It is stipulated in this courts opinion that, were I to be a pipeline case, it would apply
directly to the sentencing in my case.

It is then easy to infer that this court believes that, under the same circumstances that
existed at my sentencing hearing, if such a sentencing were to happen today, the consecutive
60-, 240-, and 240-month sentences for Count II, V, and VII (respectively), would not have run
consecutive to each other.

§403 of the First Step Act clarifies that multiple counts of §924(c) arising from the same
crime, so long as those charges are the first of its kind in a defendants criminal history, does not
trigger the 25-year consecutive sentence for these subsequent convictions.

In my case, this is acknowledged by both the Court and the government insofar as the
only argument made by the government against such a grant of relief is that the First Step Act
did not make the elimination of §924(c) “stacking” sentences retroactive. Doc 208 at 8 (citing,
again, non-binding precedent out of another appellate circuit. In this case, the 3" Circuit’s
decision in United States v. Hodges, no. 1901930, = —-F3d__——_, 2002 WL 253375, at *3 (3rd
Cir. Jan. 17, 2020)).

Implicit in both the government’s objections, and this Court’s denial of that claim [Doc.
213 at 6]'' is an acknowledgment that, were I sentenced today, I would be subject only to
consecutive 5-year terms of imprisonment for each of these counts.

That means that if I were sentenced today, the 240-month consecutive sentences

imposed would reduce to 60 month sentences, and a total of 30 years would be taken off of my

 

ll “However, the statute specifically provides that this new minimum applies to defendants convicted before the Act
became law only if they had not yet had a sentence “imposed” id,

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sentence. My final sentence, assuming no other arguments that are applicable in my case are
considered, would and should now be 507 months.

I have now served nearly 23 years of my sentence, or 276 months, and have a projected
release date almost exactly 40 years from now.

Were this to be the only change made to my sentence, I would be released in about 8

years (once good conduct credit and re-entry time-credits are applied).

C) Rehaif

Notwithstanding the previous arguments regarding the Johnson, Dimaya, and Davis rulings,
which will one day soon be considered on their own merits, another Supreme Court decision in
Rehaif.

I ask now that the Court consider, as part of this larger arguments, the application of
Rehaif as it relates to my case, While it is true that this Court has no jurisdiction to consider the
merits of any of these arguments under habeas review”, my request here requires a serious
contemplation of their merits to determine if further incarceration could prove fatal to my
case."

Under Rehaif, my previous criminal record is germane. So is my belief at the time of my
prosecution in this case that my previous record did not create a disability to my 2"
Amendment privileges in Louisiana.

While I am ardently of the mind that I had no indication that the previous criminal

record, and the disposition of my previous criminal record was in such a state as that my

 

12 Without first obtaining authorization for a successive §2255 filing by the Fifth Circuit. ..

13 “Fatal” here is used both metaphorically and literally, and is purposely used this way,

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constitutional right to possess a firearm was intact, the facts in this case must still be reviewed
for their merits under a Rehaif argument.

While this Court concluded that Rehaif neither created a new rule, nor is it retroactively
applicable upon collateral review, this conclusion is not supported in the Fifth Circuit. This fact

has been stated in this very Court:

“Neither the Supreme Court nor the United States Court of Appeals for the
Fifth Circuit has addressed the issue of whether Rehaif was made retroactively
applicable to cases on collateral review.” United States v. Kelley, No 3:18-CR-147
(W.D. Louisiana, Doughty, May 19, 2020) (Emphasis added).

Other Circuits have come to the conclusion that Rehaif is not retroactively applicable on
collateral review, but that has even less controlling force upon this Court than Marroquin
because there is no analysis here that would require regional expertise like the interpretation of
in-circuit-state criminal statutes.

This Court, however, punts again and does not consider the merits of Rehaif arguments
on collateral review, and does so in both my case, and Kelley, id. However, this pleading is not
for collateral habeas-style review.

Without the 180-month sentence I received for the §922(g) charges, the 300-month bank
robbery sentence is stripped naked and cannot be cloaked under an “already running
concurrent” denial, like this Court did to my Johnson arguments in 2018. See Doc 175 at 9

(quoting United States v. Huerra, 884 F.3d 511 (5" Cir. 2018)).

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D) Jurisdiction, Merit, and Relief

Because this motion is properly brought under two equally valid provisions under
§3582, the decision of whether this Court has jurisdiction to consider my arguments herein are
already answered. It does.

If this Court analyses these arguments and concludes, as it should, that these arguments
are compelling, then the choice to act is clear. Inaction here would likely make this court an

accessory to negligent homicide,

E) Resentenci ideration

Considering Rehaif, my 180-months sentences are structurally invalid. Prejudice is not
obvious, because no argument has yet been made regarding the underlying 300-month sentence
for the two armed robbery convictions.

However, inasmuch as Rehaif and the First Step Arguments are validly made here, a re-
sentencing on these issues would not be specific, but general. See Untied States v. Lee, 358
F.3d 315 (finding that resentencing after remand is not limited to a simple calculus generated
by the subtraction of scoring from successful merits argumentation, but such a resentencing is
subject to general sentencing procedures).

Since Lee, however, the Supreme Court has weighed in on this. General re-sentencings
on remand are now required to consider post-sentencing rehabilitation and current statutory
schemes. Pepper v, United States, 562 U.S. 476 (2011) (“[A] district court at resentencing may
consider evidence of the defendant’s postsentencing rehabilitation, and such evidence may, in

appropriate cases, support a downward variance from the now-advisory Guidelines range.”’)

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The invocation of Booker in the Pepper opinion reinforced that newer precedent controls
sentences on remand. For statutory scheme on resentencing, see Greenlaw v. United States, 554
U.S. 237 253 (2008) (“[O]n remand, the trial court can reconfigure the sentencing plan ... to
satisfy [§3553(a)’s] sentencing factors” which include the kinds sentences [currently]
available").

In my case, my criminal history is so old as to warrant a criminal history category of I,
Booker now creates an advisory, but not mandatory, Guidelines range, and 23 years of Supreme
Court precedent and statutory changes warrant substantial review.

Today, a cursory look at my guidelines ranges, criminal history, and new Supreme Court
precedent, reveals a sentence below 25 years in total.

The entire purpose of this theoretical thought-exercise is to demonstrate that there is
provable injury that can and will happen if the merits of these arguments are not considered by
this Court.

That injury is easy to see:

1. Were I sentenced under today’s standards, my sentence would already, nor nearly be,
complete and I would be out of prison;

2. The novel Caronavirus presents an imminent threat to my life;

3. The BOP is not taking sufficient action to prevent my contraction of COVID-19;

4. If I contract COVID-19, Iam at MUCH greater risk of death than the average citizen,
both due to my health conditions, and the lacking heatlhcare afforded to inmates at USP

Florence;

 

14 §3553(a)(3)

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5. IfI die in prison from COVID-19, it would be a miscarriage of justice caused simply
because no avenue currently exists to remedy the sentencing disparity between myself
and contemporary defendants enjoy; a sentence disparity that neither the government
nor this Court disputes exists.

6. To doom me to an untimely death when these facts are not disputed is an extraordinary

and compelling reason to grant this §3582 request.

VU. CONCLUSION
BECAUSE my presence in prison puts me at much greater risk of contracting COVID-19

despite any efforts made by the BOP to prevent transmission;
BECAUSE conditions of confinement in the BOP are conducive to the rapid of contagions no
matter how drastic administrative measures are taken by the BOP;
BECAUSE my health problems create an undeniable risk of death were I to contract COVID-
19 in prison; and
BECAUSE this Court and the government both recognize that I would otherwise be sentenced
to at or below the sentence I have already served if I were sentenced under today’s sentencing
rubric;

Then denying this motion and leaving me in prison converts my sentence to a de facto
death sentence and violates Due Process because I was not sentenced under the rules of capital
cases. It also, therefore, violates the Eighth Amendment’s protection against cruel and unusual

punishment.

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Thus, this Court cannot defer the issue by inaction and must grant this request for
sentence modification so I can exist outside prison walls and be protected from unwarranted
disease and death by continued incarceration.

WHEREFORE, I pray this court recognize the merits of this request and grant the

sentence modification requested herein...

This request is submitted on this a oth day of )U ly , 2020.

 

USM# 09766-035

USP FLORENCE

UNITED STATES PENITENTIARY
P.O. BOX 7000

FLORENCE, CO 81226

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ursuant To Title (2 U.S2,825382G)0(A)

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